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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

     v.                                        Criminal Action No. 1:21-cr-00119 (CJN)

GARRET MILLER,

             Defendant.


                                       ORDER

      This matter is before the Court on the government’s Motion for Reconsideration, ECF

No. 75. Accordingly, for the reasons given in the contemporaneously published Memorandum

Opinion, it is hereby ORDERED that

      The government’s Motions for Leave to File Supplemental Authority, ECF Nos. 82, 83,

and 85, are GRANTED. And it is further ORDERED that

      The government’s Motion for Reconsideration, ECF No. 75, is DENIED.

      It is SO ORDERED.


DATE: May 27, 2022
                                                      CARL J. NICHOLS
                                                      United States District Judge




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